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United States Courts
Southern District of Texas

 

UNITED STATES DISTRICT COURT FILED
SOUTHERN DISTRICT OF TEXAS
VICTORIA DIVISION JUN 22 2017
David J. Bradley

UNITED STATES OF AMERICA § Clerk of Court

§
Vv. § Criminal No. 6:17-cr-35-S1

§
MARQ VINCENT PEREZ §

SUPERSEDING INDICTMENT

THE GRAND JURY CHARGES:

COUNT ONE
18 U.S.C. § 247(a)(1) and § 2
Hate Crime — Damage to Religious Property
On or about January 28, 2017, in the Southern District of Texas and within the jurisdiction
of the Court, the Defendant,
MARQ VINCENT PEREZ,
aided, abetted, and assisted by others known and unknown to the Grand Jury, through the use of a
dangerous weapon, explosive, and fire, intentionally defaced, damaged, and destroyed religious
real property, because of the religious character of the property, to wit: the Victoria Islamic Center,
and such offense was in and affected interstate and foreign commerce.
In violation of 18 U.S.C. § 247(a)(1) and § 2.
COUNT TWO
18 U.S.C. § 844(h) and § 2
Use of Fire to Commit a Federal Felony
On or about January 28, 2017, in the Southern District of Texas and within the jurisdiction
of the Court, the Defendant,

MARQ VINCENT PEREZ,

aided, abetted, and assisted by others known and unknown to the Grand Jury, knowingly used a
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fire and explosive to commit a violation of 18 U.S.C. § 247(a)(1), as set forth in Count One of this
Superseding Indictment, a felony prosecutable in a court of the United States.

In violation of 18 U.S.C. § 844(h) and § 2.

COUNT THREE
26 U.S.C. § 5841, § 5845, § 5861(d), § 5871, and 18 U.S.C. § 2
Possession of Unregistered Destructive Device

On or about January 15, 2017, in the Southern District of Texas and within the jurisdiction

of the Court, the Defendant,
MARQ VINCENT PEREZ,

aided, abetted, and assisted by others known and unknown to the Grand Jury, knowingly received
and possessed an unregistered firearm, to wit a destructive device, not registered to him in the

National Firearms Registration and Transfer Record.

In violation of 26 U.S.C. § 5841, § 5845, § 5861(d), § 5871, and 18 U.S.C. § 2.

A TRUE BILL:
ORIGINAL SIGNATURE ON FILE
FOREPERSON OF THE GRAND JURY

ABE MARTINEZ T.E. WHEELER, II
ACTING US ATTORNEY ACTING ASST. ATTORNEY GENERAL
SOUTHERN DISTRICT OF TEXAS U.S. DEPT. OF JUSTICE, CIVIL RIGHTS DIV.

SA. Sek

SHARAD 8S. KHANDELWAE—————_  SAEEPAA. MODY
EUN KATE SUH Trial Attorney
Assistant United States Attorneys
